- | Case: 1:10-cv-04308 Document #: 1 Filed: 07/12/10 Page 1 of 14 PagelD #:1

dF
RECEIVED

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION JUL 1 2 2010

Cal. Sakon wonder nooks

CLERK, U.S. DISTRICT COURT

 

CIVIL ACTION

 

(Name of the plaintiff or plaintiffs)

RTS

br by al Cheengo OFF 1:10-cv-04308
— Emorgtnty by rn mint<Cirmunrerticn Judge William J. Hibbler

WVAud(Gen LIPAL é
OE OE scotty — Magistrate Judge Young B. Kim

COMPLAINT OF EMPLOYMENT DISCRIMINATION

1. This is an action for employment discrimination.
2. The plaintiff is “Dol npr Laetisin of the county of

Lue Va in the stateof___» £ Gye

 

 

3. m Beas defendant is C, £ tf DIE Lhiing 2 BQ fALE LIES whose street address

VGN en. Yauréén Cooty
is

ci) Lp tigg, (cow “fae (sare) ZL (ZIP)

(Defendant’s telephone number) (___)}-

 

Il The plaintiff sought employment or was employed by the defendant at (street address)

[lV 3 Stole Streef- og coe ve
(county, 204 1. (state) LH __ we code ELE

5. The plaintiff [check one box]

(ay_] was denied employment by the defendant.
(oyE<] was hired and is still employed by the defendant.
OL] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) / Yo / , (day) , (year) Lt .

 
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7.1 (Choose paragraph 7.1 or 7.2, do NOT complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff [check one box]

[has not [| has filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with any of the following government agencies:

(i) the United States Equal Employment Opportunity Commission, on or about
(month) (day) (year)

(ii) [A the Illinois Department of Human Rights, on or about
(month) (day} (year)

(b) Ifcharges were filed with an agency indicated above, a copy of the charge is ttached. 1 YES. [J NO,

but plaintiff will file a copy of the charge within 14 days.
Itis the policy of both the Equal Employment Opportunity Commission and the Illinois Department of Human

Rights to cross-file with the other agency all charges received. The plaintiff has no reason to believe that this
policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of Employment Discrimination with the defendant asserting

the acts of discrimination indicated in this court complaint.
Yes (month) LL) (day) (year200 F

LJ No, did not file Complaint of Employment Discriminatio,

 

 

i
2. The plaintiff received a Final Agency Decision on (month) API o Mil & o LO

(day) (year) : ney 0
c. Attached 1s a copy of the nA *Y

a. Complaint of Employment Discrimination,

KZ YES L NO, but a copy will be filed within 14 days.
(ii) Final Agency Decision
\Z YES CO NO, but a copy will be filed within 14 days.

8. (Complete paragraph 8 only if defendant is not a federal governmental agency.)

 

 
Case: 1:10-cv-04308 Document #: 1 Filed: 07/12/10 Page 3 of 14 PagelD #:1

(a) [J the United States Equal Employment Opportunity Commission has not issued a Notice of Right

to Sue.

olf the United States Equal Employment Opportunity Commission has issued a Notice of Right to

Sue, which was received by the plaintiff on (month Vif (day) [ G
(year 20/0 a copy of which Notice is attached to this compart. ax 7

9, The defendant discriminated against the plaintiff because of the plaintiff s [check only those that apply):

(a) ge (Age Discrimination Employment Act).

(b)|1 Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(c) Disability (Americans with Disabilities Act or Rehabilitation Act)

(d) National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981),
cL] Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

()L_] Religion (Title VII of the Civil Rights Act of 1964)

(g) [ ] Sex (Title VII of the Civil Rights Act of 1964)
10. If the defendant is a state, county, municipal (city, town or village) or other local governmental agency,

plaintiff further alleges discrimination on the basis of race, color, or national origin (42 U.S.C. § 1983).
11. Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims by 28

U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(£}(3); for 42 U.S.C.§1981 and §1983 by
42 U.S.C.§1988; for the A.D.E.A. by 42 U.S.C.§12117; for the Rehabilitation Act, 29 U.S.C. § 791,

12. = The defendant [check only those that apply]

| failed to hire the plaintiff.

cL] terminated the plaintiff's employment.

LJ failed to promote the plaintiff.

aL] failed to reasonably accommodate the plaintiff's religion.
olf failed to reasonably accommodate the plaintiff's disabilities.
(f) M] failed to stop harassment,

hi
(g) pS etaliated against the plaintiff because the plaintiff did something to assert rights protected by
the laws identified in paragraphs 9 and 10 above;

(h) LJ other (specify):

 

 

 

 

 

 
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13. The facts supporting the plaintiff's claim of discrimination are as follows:

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Lie dthers LL a te kFivtar £0 LOLS

(lids wets dinates OTE Cn Une OfLpose€

Z fs
‘dpuael ne

14. [AGE DISCRIMINATION ONLY| Defendant knowingly, intentionally, and willfully discriminated
against the plaintiff.

15. The plaintiff demands that the case be tried by a jury. [] YES axe

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check only
those _—_ that apply]

 

 

 

(a)L_] _ Direct the defendant to hire the plaintiff

(b) LJ Direct the defendant to re-employ the plaintiff.

(c) [] Direct the defendant to promote the plaintiff.

(d) [J Direct the defendant to reasonably accommodate the plaintiff’s religion.

{e) [| Direct the defendant to reasonably accommodate the plaintiff's disabilities.
Direct the defendant to (specify):

OL]
gee ltr k CL bu Goth Lrard Lass Bork.

 

 

 

@X] If available, grant the plaintiff appropriate injunctive relief, lost wages, liquidated/double
damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-
judgment interest, and costs, including reasonable attorney fees and expert witness fees,

amyl] Grant such other relief as the Court may find appropriate.

    

Plaintiff's signature

Dh rder lat feson

Plaintiffs name

 
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Plaintiff's street address Wu J, Jef, = WAP 2p. Ave

City y ) State 7) Lf zp (lk AS
Plaintiff s telephone number 274 Yi = Lb on St -¢ E55 fone

 

 

ac 2/0

 

 
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«AL
EEOC Form 164 (1409) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
_ DISMISSAL AND NOTICE OF RIGHTS
To: Belinda Jackson From: Chicago District Office
6444 S Washtenaw 500 West Madison St
Chicago, IL 60629 Suite 2000
Chicago, IL 60661
CERTIFIED MAIL 7099 3406 0018 8818 4264
[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative - Telephone No.
Armernota P. Smith,
- 21B-2007-02653 State & Local Coordinator (312) 886-5973

 

THE EEOC {5 CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations clid not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes,

Your charge was not timely. filed with EEOC: in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

I OOUOUU

The EEQC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or tocal fair employment practices agency that investigated this charge.

LIE

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.}

Title Vii, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the onty notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federat or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.}

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the -
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Joke D. Rowe/mgle 04-16-2010

 

Enclosures(s) John P. Rowe, (Date Mailed)

District Director

ce: CITY OF CHICAGO EMERGENCY
120 N Racine
Chicago, IL 60607

 
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CHARGE OF DisCRIMINATION | AGEN. | CHARGE NUMBER

This form is affected by the Privacy Act of 1974: See Privacy act statement | IDER
before completing this form.

2008CF0648

 

 

 

 

#08W0919.03 |
| | [-] zac . —
Iinois Department of Human Rights and EEOC
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NAME (indicate Mr. Ms. Mrs.) | HOME TELEPHONE (include area cotie)
| Belinda Jackson (773) 776-4355

STREET ADDRESS CITY, STATE AND ZIP CODE | DATE OF BIRTH

| 6444 S. Washtenaw Chicago, IL 60629 / of

 

| NAMED ¢S THE EMPLOYER, LABOR ORGANIZATION, EM PLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR
| LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (IF MORE THAN ONE LIST BELOW)

7

 

 

 

 

 

 

 

 

 

 

 

| NAME NUMBER OF EMPLOYEES, TELEPHONE (include area code)
| City of Chicago Office of Emergency | MEMBERS 15+ (312) 743-7388
| Management & Communications
| STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY |
120 N. Racine Chicago, IL 60607 Cook wie
| CAUSE OF DISCRIMINATION BASED ON, DATE OF DISCRIMINATION |
| EARLIEST (ADEA/EPA) LATEST (ALL) |
| RETALIATION 09/19/07 |
| [1] CONTINUING ACTION _!

 

| THE PARTICULARS ARE (if additional space is needed attach extra sheets) |
i

A. ISSUE/BASIS

WRITTEN WARNING -— AUGUST 2007, IN RETALIATION FOR FILING CHARGE
NUMBERS 2006CF3076 AND 2007CF3050 WITH THE DEPARTMENT OF HUMAN ,
RIGHTS BASED ON RACE AND PHYSICAL HANDICAP DISCRIMINATION

|
B. PRIMA FACIE ALLEGATIONS

| I. On October 10, 2006, I engaged in a protected activity when I filed discrimination :

j charge #2006CF3076. On May 21, 2007, I engaged in a protected activity again when |

I filed charge #2007CF3050, with the State of Ulineis Department of Human Rights
opposing that which | reasonably and in good faith believed to be unlawful
discrimination based on my race and my physical handicap.

ontinued...

 

 

   

change my address or telepikone number and I will cooperate fully with them
in the processing of my charge in accordance with their procedures,

   

-
{ also want this charge filed with the EEQC, I will advise the agencies if [ SUESCRIBED AYERS T

OTR oF

ME T » 2007

  

 

  

OFFICIAL SEAL ;
KRYSTAL ROGERS ¢

g NOTARY PUBLIC - STATE OF ALINGIS §
§ iY COMMISSION EXPIRES 11/16,40

 

 

 

| | declare ander penalty thet the foregoing is true and correct iswear or affirm |
; that I have read the above charge and that itis true to the best of my t
| knowledges, information and belief

NOTARY SEAL
FORM § (5/05}

 

 

 

 
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--€oniplainant: Belinda Jackson

Charge Number: 2008CF0648
Page 2.

. _ 2. In August 2067, Cooney issued me a Written warning for allegediy not
allowing Sherrie Yersich, Traffic Control Aide, out of the radio room
on May 21, 2007. This allegation is not true.

3. The adverse action followed my protected activity within such a period
of time as to raise an inference of retaliatory motivation,

IT. A. ISSUE/BASIS

HARASSMENT — MAY 22, 2007, TO SEPTEMBER 19, 2007, IN
RETALIATION FOR FILING CHARGE NUMBERS 2006CF3076 AND
2007CF3050 WITH THE DEPARTMENT OF HUMAN RIGHTS BASED ON
RACE AND PHYSICAL HANDICAP DISCRIMINATION

B. PRIMA FACIE ALLEGATIONS

1. On October 10, 2006, I engaged in a protected activity when I filed
discrimination charge #2006CF3076, On May 21, 2007, } engaged in a
protected activity again when I filed charge #2007CF3050, with the
State of Illinois Department of Human Rights opposing that which I
reasonably and in good faith believed to be unlawful discrimination
based on my race and my physical handicap.

2. Although I filed discrimination charges against Respondent naming
Naureen Cooney, Acting Superintendent, as the harasser Cooney
continues to harassment me in the workplace,

a, In August 2007, Cooney accused me of holding Sherrie Yersich
in the radio room against her will.

b. Since May 22, 2007 and continuing, UNTIL September 19, 2007,
Cooney has other supervisors and employees to inform her
through their daily reports what my day-to-day work habits
are. Cooney has also tried to get ether supervisors to write me
up.

& On September 19, 2007, Cooney accused me of giving a traffic
aide the wrong radio on September 17, 2007. Cooney told me [
was incompetent or either did not care about my job. Cooney
then requested that I use a new sheet that she created.

3. The harassment followed my protected activity within such 2 period of
time as to raise an inference of retaliatory motivation. The harassment
aiso creates a hostile and intimidating work environment for me and
imterferes with my ability to perform the essential functions of my job.

MEE/

 
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"ebook 101 (1100 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Belinda Jackson From: Chicago District Office
6444 § Washtenaw 500 West Madison St
Chicago, IL 60629 Suite 2000

Chicago, IL 60661
CERTIFIED MAIL 7010 0290 0003 3520 7560

 

[_] On behalf of person(s} aggreved whose identity is
CONFIDENTIAL (29 CER §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Armernola P. Smith,
2+B-2008-01687 State & Local Coordinateor (312) 886-5973

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did nat involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

WOOO

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes viclations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or jocat fair employment practices agency that investigated this charge.

[| fe

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

{See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge wilt be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equai Pay Act {EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willfu! violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may nat be collectible.

On behalf of the Commission

Joks D. Rewe/nph 2010-05-27

 

 

Enctosures(s} John P. Rowe, (Date Mailed)
District Director
cc: CITY OF CHICAGO EMERGENCY
120 N Racine
Chicago, IL 60607
Case: 1:10-cv-04308 Document #: 1 Filed: 07/12/10 Page 10 of 14 PagelD #:1

STATE OF ILLINOIS
DEPARTMENT OF HUMAN RIGHTS

IN THE MATTER OF: CHARGE NO. 2008CF2829

EEOC NO. 21BA81687
BELINDA JACKSON,

COMPLAINANT,
AND

CITY OF CHICAGO OFFICE OF EMERGENCY
MANAGEMENT & COMMUNICATIONS,

Mamet Meee! Mme! eel Seether ee ee

RESPONDENT.

NOTICE OF DISMISSAL
FOR LACK OF SUBSTANTIAL EVIDENCE

Ms. Belinda Jackson Ms. Mary Ernesti, Esq.
6444 South Washtenaw Assistant Corporation Counsel
Chicago, IL 60629 City of Chicago, Department of Law

30 North LaSalle Street, Suite 1040
Chicago, IL 60602

DATE OF DISMISSAL: September 24, 2009

1. YOU ARE HEREBY NOTIFIED that based upon the enclosed investigation report, the
DEPARTMENT OF HUMAN RIGHTS (DHR) has determined that there is NOT substantial
evidence to support the allegations of the charge(s}. Accordingly, pursuant to Section 7A-
102(D) of the Human Rights Act (775 ILCS 5/1-101 et. seq.) and its Rules and Regulations (56
Ill. Adm. Code. Chapter Il, Section 2520.560), the charge is HEREBY DISMISSED.

2... If Complainant disagrees with this action, Complainant may:
a) seek review of this dismissal before the Illinois Human Rights Commission, 100 West
Randolph Street, Suite 5-100, Chicago, Illinois, 60601, by filing a “Request for Review”
with the Commission, by the Request for Review filing date below. Respondent will be
notified by the Human Rights Commission if a Request for Review is filed.
REQUEST FOR REVIEW FILING DEADLINE DATE: October 28, 2009
Or,
b) commence a civil action in the appropriate state circuit court within ninety (90) days
after receipt of this Notice. A complaint should be filed in the circuit court in the county

where the civil rights violation was allegedly committed.

Please note that the Department cannot provide any legal advice or assistance. Please
contact legal counsel, your city clerk, or your county clerk with any questions.

(continued on page two)

 

 
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NOTICE OF DISMISSAL FOR LACK OF SUBSTANTIAL EVIDENCE
Charge Number: 2008CF2829
Page Two

3, Complainant is hereby notified that the charge(s) will be dismissed with prejudice and
with no right to further proceed if a timely request for review is not filed with the Commission, or
a written complaint with the appropriate circuit court.

4. lf an EEOC charge number is cited above, this charge was also fited with the Equal
Employment Opportunity Commission (EEOC). If this charge alleges a violation under Title Vl
of the Civil Rights Act of 1964, as amended, or the Age Discrimination in Employment Act of
1967, Complainant has the right to request EEOC to perform a Substantial Weight Review of
this dismissal. Please note that in order to receive such a review, it must be requested in writing
to EEOC within fifteen (15) days of the receipt of this notice, or if a request for review is filed
with the Human Rights Commission, within fifteen days of the Human Rights Commission's final
order. Any request filed prior to your receipt of a final notice WILL NOT BE HONORED. Send
your request for a Substantial Weight Review to EEOC, 500 West Madison Street, Suite 2000,
Chicago, lllincis 60661. Otherwise, EEOC will generally adopt the Department of Human
Rights’ action in this case.

PLEASE NOTE: BUILDING SECURITY PROCEDURES PRESENTLY IN PLACE DO NOT
PERMIT ACCESS TO EEOC WITHOUT AN APPOINTMENT. IF AN APPPOINTMENT IS
REQUIRED, CALL 312-353-2713 OR 1-800-669-4000.

DEPARTMENT OF HUMAN RIGHTS

HB1509/NOD/LSE
9/07

 

 

 
Case: 1:10-cv-04308 Document #: 1 Filed: 07/12/10 Page 12 of 14 PagelD #:1

 

 

 

\'” * ” CHARGE OF D. AMINATION ‘AGEN ~~ | CHARGE NUMBER

 

 

 

 

 

 

 

i This form is affected by the Privacy Act of 1974: See Privacy act statement IBHR
; before completing this form. : 2008CF23929
FOR WO401,.
08 WO401.08 ! 0 EFOC
| Iiinois Department of Human Rights and EEOC
NAME (indicate Mr. Ms. Mrs.) HOME TELEPHONE (include area code}
| Belinda Jackson (773) 776-4355
| STREET CITY, STATE AND ZIP CODE DATE OF BIRTH
6444 S, Washtenaw Chicago, Hlinois 60629 if

 

 

 

 

 

 

 

 

 

NAME NUMBER OF EMPLOYEES, TELEPHONE (Include area code)

City of Chicago Office of Emergency | MEMBERS 15+ (312) 743-7388

Management & Communications

STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY

120 N Racine Chicago, Illinois 60607 Cook
CAUSE OF DISCRIMINATION BASED ON. DATE OF DISCRIMINATION
EARLIEST (ADEA/EPA) LATEST (ALL)
if 2/13/08

 

i
Race Retaliation Disability LI CONTINUING ACTION |

THE PARTICULARS ARE (if additional space is needed attach extra sheets)

I. A. ISSUE/BASIS
SUSPENSION — DECEMBAER 13, 2007, BECAUSE OF MY RACE, BLACK

i. My race is black.

2. My jeb performance meets Respondent’s legitimate expectations, I was hired on May 21,
199Q,

:
|
|
B. PRIMA FACIE ALLEGATIONS !
}
|
|
3. On December 13, 2007, I was suspended. The reasons given for the adverse action were
insubordinate actions and violation of unit policies.

|

4. Similarly situated nom-black employees who behavior is comparable to mine were not |
disciplined. . |

|
!

| Continued...

 

if
t
\
| 1 also want this charge filed with the EEOC. | will advise the agencies if I SUBSCRIBED AND SWORN TO BEFORE ME
’ cilange my address or telephone number and i will cooperate fully with the
processing of my charge in accordance with their procedures, THIS JG DAY OF Heel , 2008 |
|
|
|

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— an /
Ci fin ic a enn the So 2 a Le at ws
pooeonaas “ae hw olan IA, fs
i | SIGNATURE OF COMPLAINANT / ~ DATE /

@ JACQUELYN TURNER HAME
nr Notary Public, State of lilinois 2 .
% My Commission Expires 9/2709 | I declare under penalty that the foregoing ts true and correct I
SOGGG TUES. KEES | SWéar or affirm that { have read the above charge and that it is
Notary Seal | true to the hest c my knowledge, information and belief

; ty
FORM 4 (5/03) Oo

 

      

 

    
      
     

  
 
    

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#:1
Case: 1:10-cv-04308 Document #: 1 Filed: 07/12/10 Page 13 of 14 PagelD

Com plainant: Belinda Jackson

Charge Number: 2008CF2929_
Page 2

I. A. ISSUE/BASIS

SUSPENSION - DECEMBER (3, 2007, BECAUSE OF MY DISABILITY
LEFT KNEE DISORDER

B. PRIMA FACIE ALLEGATIONS

1. Tam an individual with a disability as defi

ned by the Illinois Human Rights
Act.

2. Respondent is aware of disability,

ad

My job performance meets Respondent?

§ legitimate expectations. | was
bired on May 21, 1990.

4. On December 13, 2007, | was 5

uspended. The reasons given for the adverse
action were insubordinate acti

Ons and violation of unit Policies.

5S. My disability is unrelated to

my ability to perform the essential functions of
my job,

ili, A. ISSUE/BASIS
SUSPENSION ~— DECEMBER
CHARGES ALLEGING RACE, DISABILITY

DEPARTMENT OF HUMAN RIGHTS

B. PRIMA FACIE ALLEGATIONS

1. On October 16, 2006, I engaged in a protected activity when I filed
charges#2006CF 3076, on May 21, 2007, charge 42007CF3050 and on
September 20, 2007, charge #2008CF0648, alleging race, disability and

retaliation discrimination against Respondent with the [linois Department of
Human Righis, ‘

2. My job performance meets Respondent’s legitimate expectations. I was hired
on May 21, 1999, .
$5. On December 13, 2007, I was sus

pended. The reasons given for the adverse
action were insubordinate actio

ns and violation of unit policies,

4. The suspension followed Hl

y having engaged in a protected activity within
such a pericd of time as to

raise an inference of retaliatory motivation.

Continued...
Case: 1:10-cv-04308 Document #: 1 Filed: 07/12/10 Page 14 of 14 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Plaintiff(s)
Case No.
¥.
Defendantt{s)

AMENDED COMPLAINT

 

 
